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Information to identify the case:
Debtor 1                 Charles Walker                                                         Social Security number or ITIN    xxx−xx−4574

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Arkansas                              Date case filed for chapter 13 9/7/22

Case number:          4:22−bk−12430                                                             Judge: Richard D. Taylor


Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Charles Walker

2. All other names used in the
   last 8 years
                                              13200 Chenal Pkwy
3. Address                                    Apt 232
                                              Little Rock, AR 72211
                                              Matthew David Mentgen                                         Contact phone 501−392−5662
4. Debtor's  attorney
   Name and address
                                              Mentgen Law
                                              P.O. Box 164439                                               Email: matthew@yourdebtattorney.com
                                              Little Rock, AR 72216

5. Bankruptcy trustee                         Jack W. Gooding                                               Contact phone 501−537−4400
     Name and address                         Chapter 13 Standing Trustee
                                              Line 1: 877−988−6627 code3840362
                                              Line 2: 877−921−0644 code4852474
                                              P.O. Box 8202
                                              Little Rock, AR 72221−8202

6. Bankruptcy clerk's office                                                                                Hours open 8:00 a.m. − 5:00 p.m.
     Documents in this case should be         300 W. 2nd Street                                             Contact phone: 501−918−5500 or
     filed in ECF or at one of these          Little Rock, AR 72201                                         479−582−9800
     addresses.                               OR
                                              35 E. Mountain St. Rm 316                                     Date: 9/8/22
     You may inspect all records filed in
     this case at this office or online at    Fayetteville, AR 72701
      pacer.uscourts.gov.
                                                                                                                  For more information, see page 2




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Debtor Charles Walker                                                                                                              Case number 4:22−bk−12430

7. Meeting of creditors
    Debtors must attend the meeting to     October 6, 2022 at 03:00 PM                                        Location:
    be questioned under oath. In a joint                                                                     341a Telephonic Meeting, use Teleconf
    case, both spouses must attend.                                                                          number Line 1, shown in trustee's address
    Creditors may attend, but are not      The meeting may be continued or adjourned to a                    above.
    required to do so.                     later date. If so, the date will be on the court
                                           docket.

                                           *** Valid photo identification and proof of social security
                                                              number required ***
8. Deadlines                               Deadline to file a complaint to challenge                                  Filing deadline: 12/5/22
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim        Filing deadline: 11/16/22
                                           (except governmental units):
                                           ** Effective December 1, 2017, for holder(s) of a claim secured by a security interest in the
                                           debtor's principal residence, please reference Bankruptcy Rule 3002(c)(7) regarding filing
                                           deadlines for attachments filed as a supplement to the holder's claim.
                                           Deadline for governmental units to file a proof of         Filing deadline: 3/6/23
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim can be filed on−line at
                                           www.arb.uscourts.gov or obtained at www.uscourts.gov or any bankruptcy clerk's office and filed at either
                                           address listed in #6 above. If you do not file a proof of claim by the deadline, you might not be paid on your
                                           claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                          Filing deadline: 30 days after the
                                           The law permits debtors to keep certain property as exempt. If you         conclusion of the meeting of creditors or
                                           believe that the law does not authorize an exemption claimed, you          within 30 days after any amendment to
                                           may file an objection.                                                     the list or supplemental schedules is
                                                                                                                      filed, whichever is later. ****
                                           Deadline to object to exemptions in cases converted ****Filing deadline: See Bankruptcy
                                           to Chapter 7:                                       Rule 1019(2)(B).

9. Filing of plan                          A copy of the Chapter 13 Plan may be viewed online at pacer.uscourts.gov or at the bankruptcy clerk's office or
                                           you may contact your attorney for additional information.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. Objections to confirmation must be filed
                                           with the Court and served on the Trustee and Debtor on or before the fourteenth (14th) day after the meeting of
                                           creditors is concluded. If no objection is timely filed, the plan will be confirmed pursuant to Federal Rule of
                                           Bankruptcy Procedure 3015. If objections are timely filed, a hearing on confirmation will be set by subsequent
                                           notice. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                           unless the court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at pacer.uscourts.gov. If you believe
                                           that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                           a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                           under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                           debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                           discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                           bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                           of any of their debts under 11 U.S.C. § 1328(f), you must file a motion.
14. Intent to abandon property             The trustee may give notice at the meeting of creditors of his/her intent to abandon property unless
                                           objections are filed within 15 days.

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